                     Case 1:11-cv-00559-WMS Document 19-9 Filed 07/26/11 Page 1 of 1




      District 10

    Population Statistics                     Ethnicity                    Voter Statistics

City of Tonawanda              15,130   White                  78,982   Registered Voters     57,448
Town of Grand Island           20,374   % White               94.53%
Town of Tonawanda              48,044   Black                   1,711   Democrats             23,738
                                        % Black                2.05%    Republicans           19,862
Total Population               83,548   American Indian           322   Conservatives          1,149
Deviation                          -1   % American Indian      0.39%    Working Families         234
% Deviation                   0.00001   Asian                   1,238   Independence           2,657
                                        % Asian                1.48%    Green                    109
Age 18+                        67,303                                   Other                    590
                                        Hispanic Origin         1,682   Blank                  9,109
                                        % Hispanic Origin      2.01%
                                                                        Male                  26,446
                                        Black 18+               1,258   Female                31,002
                                        % Black 18+            1.87%
                                        Hispanic Origin 18+     1,071   Age 18 - 24            4,659
                                        % Hispanic 18+         1.59%    Age 25 - 34            8,248
                                                                        Age 35 - 40            4,484
                                                                        Age 41 - 45            4,505
                                                                        Age 46 - 54           10,414
                                                                        Age 55 - 61            7,956
                                                                        Age 62+               17,182

                                                                        Federal Voters          160
                                                                        Military Voters          97
                                                                        Disabled                657
                                                                        Nursing Home             91

                                                                        Voted 2007 Election   25,813
                                                                        Voted 2009 Election   18,996
